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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

       UNITED STATES OF AMERICA    :
                                   :                        CASE NO. 21-cr-387 (APM)
              v.                   :
                                   :
       AUDREY ANN SOUTHARD-RUMSEY, :
       a/k/a Audrey Ann Southard,  :
                                   :
                    Defendant.     :


     GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
                           COUNT NINE

       The United States of America, by and through its attorney, United States Attorney for the

District of Columbia, hereby respectfully submits this opposition to defendant Audrey Ann

Southard-Rumsey’s motion to dismiss Count Nine of the Second Superseding Indictment,

charging her with obstruction of an official proceeding and aiding and abetting in violation of 18

U.S.C. §§ 1512(c)(2) and 2 (ECF No. 38).           Southard-Rumsey’s motion incorporates the

defendant’s motion to dismiss the same charge in United States v. Seitz, 21-cr-279, which Judge

Friedrich denied in an oral ruling. Seitz, Aug. 17, 2022 Hearing Tr., 21-cr-279 (DLF) at 4-9,

attached as Exhibit 1. The government hereby incorporates its arguments made in response to the

motion in Seitz, including (but not limited to) its discussion of the memo written by Bill Barr and

Judge Nichols’ opinion in United States v. Miller, No. 21-cr-119, 2022 WL 823070 (D.D.C. Mar.

7, 2022). Gov’t. Opp. to Mot. to Dismiss Obstruction Charge, Seitz, 21-cr-279 (DLF), ECF No 45

(attached as Exhibit 2).

       This Court also rejected similar arguments in United States v. Caldwell, No. 21-cr-28

(APM), 2021 WL 6062718 (D.D.C. Dec. 20, 2021). The overwhelming majority of courts in this

district have as well. See, e.g., United States v. Reffitt, 21-cr-32 (DLF), 2022 WL 1404247 (D.D.C.

May 4, 2022); United States v. Sandlin, 21-cr-88 (DLF), 2021 WL 5865006 (D.D.C. Dec. 10,
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2021); United States v. McCaughey et al., 21-cr-40 (TNM), ECF No. 388 (D.D.C. July 20, 2022);

United States v. Robertson, 21-cr-34, 2022 WL 2438546 (D.D.C. July 5, 2022); United States v.

Williams, 21-cr-618 (ABJ), 2022 WL 2237301 (D.D.C. June 22, 2022); United States v.

Fitzsimons, 21-cr-158 (RC), 2022 WL 1698063 (D.D.C. May 26, 2022); United States v. Bingert,

21-cr-91 (RCL), 2022 WL 1659163 (D.D.C. May 25, 2022); United States v. McHugh, No. 21-cr-

453 (JDB), 2022 WL 296304 (D.D.C. Feb. 1, 2022) and 2022 WL 1302880 (D.D.C. May 2, 2022);

United States v. Puma, 21-cr-454 (PLF), 2022 WL 823079 (D.D.C. Mar. 19, 2022); United States

v. Grider, 21-cr-22 (CKK), 2022 WL 392307 (D.D.C. Feb. 9, 2022); United States v. Nordean,

21-cr-175 (TJK), 2021 WL 6134595 (D.D.C. Dec. 28, 2021); United States v. Montgomery, 21-

cr-46 (RDM), 2021 WL 6134591 (D.D.C. Dec. 28, 2021); United States v. Mostofsky, No. 21-cr-

138 (JEB), 2021 WL 6049891 (D.D.C. Dec. 21, 2021). Finally, the government notes that

Southard-Rumsey’s motion is untimely, coming well after the October 14, 2022, deadline for

pretrial motions. Order, ECF No. 36. Following its own sound reasoning in Caldwell, Judge

Friedrich’s decision in Seitz, and the decisions of many other judges in this district, the Court

should deny the motion to dismiss.



                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            D.C. Bar No. 481052


                                     By:         /s/ Alexis J. Loeb
                                            ALEXIS J. LOEB
                                            Assistant United States Attorney, Detailee
                                            CA Bar No. 269895
                                            450 Golden Gate Ave., 11th Floor
                                            San Fracisco, CA 94102
                                            Alexis.loeb@usdoj.gov
                                            (415) 436-7168
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